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3, 2011.

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In
The

Court of Appeals

For The

First District of
Texas

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NO. 01-10-01088-CR

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CHARLES THORNTON, Appellant

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V.

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THE STATE OF TEXAS, Appellee

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On Appeal from the 248th
District Court

Harris County, Texas

Trial Court Cause No. 1275285

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MEMORANDUM
OPINION








&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Appellant,
Charles Thornton, pleaded guilty to the offense of felony theft and pleaded “true”
to the allegations in two felony enhancement paragraphs.&nbsp; The trial court found appellant guilty, found
the enhancements true, and, in accordance with the terms of appellant’s plea
agreement with the State, sentenced appellant to confinement for 5 years.&nbsp; Appellant filed a pro se notice of appeal. &nbsp;We dismiss the appeal. 

In a plea-bargain case, a defendant
may appeal only those matters that were raised by written motion filed and
ruled on before trial, or after getting the trial court’s permission to appeal.&nbsp; Tex.
R. App. P. 25.2(a)(2).&nbsp; An appeal
must be dismissed if a certification showing that the defendant has the right
of appeal has not been made part of the record.&nbsp;
Tex. R. App. P.
25.2(d).&nbsp; 

Here, the trial court’s certification
is included in the record on appeal. See
id.&nbsp; The trial court’s certification states
that this is a plea-bargain case and that the defendant has no right of appeal.
&nbsp;See
Tex. R. App. P.
25.2(a)(2).&nbsp; Appellant did not appeal any
pre-trial matters, and the trial court did not give permission for appellant to
appeal. &nbsp;See id. The record supports the trial court’s certification. See Dears v. State, 154 S.W.3d 610, 615
(Tex. Crim. App. 2005).&nbsp; Because
appellant has no right of appeal, we must dismiss this appeal.&nbsp; See Chavez
v. State, 183 S.W.3d 675, 680 (Tex. Crim. App. 2006) (“A court of appeals,
while having jurisdiction to ascertain whether an appellant who plea-bargained
is permitted to appeal by Rule 25.2(a)(2), must dismiss a prohibited appeal
without further action, regardless of the basis for the appeal.”). 

Accordingly, we dismiss the appeal
for want of jurisdiction.&nbsp; All pending
motions are dismissed as moot.

PER CURIAM

Panel consists of Justices Keyes, Sharp, and Massengale.

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Do not publish.&nbsp;
Tex. R. App. P. 47.2(b). 





